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                             UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                    PORTLAND DIVISION

DISABILITY RIGHTS OREGON;                             Case No.: 3:02-cv-00339-AN (Lead Case)
METROPOLITAN PUBLIC DEFENDERS
INCORPORATED; and A.J. MADISON,                      PLAINTIFFS LEGACY EMANUEL
                                                     HOSPITAL & HEALTH CENTER d/b/a
               Plaintiffs,                           UNITY CENTER FOR BEHAVIORAL
v.                                                   HEALTH; LEGACY HEALTH SYSTEM;
                                                     PEACEHEALTH; PROVIDENCE HEALTH
SEJAL HATHI, in her official capacity as             & SERVICES – OREGON; AND ST.
Director of Oregon Health Authority; and             CHARLES HEALTH SYSTEM’S RESPONSE
SARA WALKER, in her official capacity as             TO MENTAL HEALTH ASSOCIATION OF
Superintendent of the Oregon State Hospital,         PORTLAND’S MOTION TO INTERVENE

               Defendants.




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                                                      ORAL ARGUMENT REQUESTED
JAROD BOWMAN; and JOSHAWN
DOUGLAS SIMPSON,                                      Case No.: 3:21-cv-01637-AN (Member Case)
              Plaintiffs,
v.

SARA WALKER, Superintendent of the
Oregon State Hospital, in her individual and
official capacity; SEJAL HATHI, Director of
the Oregon Health Authority, in her individual
and official capacity,

              Defendants.


LEGACY EMANUEL HOSPITAL &
HEALTH CENTER d/b/a UNITY CENTER                      Case No.: 6:22-cv-01460-AN (Member Case)
FOR BEHAVIORAL HEALTH; LEGACY
HEALTH SYSTEM; PEACEHEALTH;
PROVIDENCE HEALTH & SERVICES –
OREGON; and ST. CHARLES HEALTH
SYSTEM,

              Plaintiffs,
v.

SEJAL HATHI, in her official capacity as
Director of Oregon Health Authority,

              Defendant.




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                                         INTRODUCTION

       Mental Health Association of Portland’s (“MHAP”) motion to intervene should be denied

because it seeks to join a lawsuit that does not exist. Whereas Hospitals bring claims seeking to

remedy the crisis for civilly committed patients, and to ensure that these patients receive the

treatment they need and are entitled to, MHAP seeks to advance its “[s]eparate and distinct”

cause of reducing civil commitment altogether. ECF 139 at 14.

       But this lawsuit is not about that issue. Hospitals’ claims are not about whether patients

should be civilly committed. And Hospitals certainly do not bring this lawsuit to increase civil

commitments in Oregon, nor do Hospitals pursue remedies that will have that effect. Rather,

Hospitals are focused on a different issue: ensuring Oregon Health Authority (“OHA”) provides

patients who already are civilly committed with the long-term, restorative treatment they are

entitled to receive. Despite MHAP’s insistence that intervention will not “cause extreme

inconvenience,” ECF 139 at 10, MHAP’s admission as a party will inevitably (and

unnecessarily) widen the scope of issues, prolong litigation, and distract from the important

purpose of this lawsuit.

       Moreover, in the new lawsuit MHAP wants to create, MHAP seeks to sue Hospitals—

which only provide emergency and acute care—for OHA’s failure to provide long-term,

restorative treatment to patients committed to the custody of OHA for 180 days of
treatment. MHAP seeks to impose injunctions against Hospitals that would fundamentally

transform Hospitals’ emergency and acute care services into long-term treatment services,

potentially depleting highly needed and already overburdened emergency and acute care

resources available to civilly committed patients in Oregon. MHAP’s attempt to blame Hospitals

for OHA’s failures is misguided, meritless, and simply not grounded in reality.




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       MHAP also bases its motion on arguments that have already been dismissed by the Ninth

Circuit or otherwise displaced by the allegations in the Second Amended Complaint. MHAP

rests on the misinformed theory that so-called “Hospital Corporations”—a term that MHAP

borrows from Disability Rights Oregon’s (“DRO”) briefing, and seemingly uses pejoratively—

secretly wish to eject all civilly committed patients from their bed and, somehow, are responsible

for OHA’s failures. That is wrong. Like OHA, MHAP ignores the allegations in the Second

Amended Complaint asserting the very opposite. In any event, the Ninth Circuit rejected these

arguments, which were based on allegations in the First Amended Complaint.

       MHAP further fails to establish Article III standing to assert claims against Hospitals and

lacks a significant protectable interest that would justify its status as a party. MHAP’s asserted

interest in reducing civil commitment is fundamentally unrelated to, and will not be impaired by,

the resolution of Hospitals’ claims. Meanwhile, MHAP’s asserted interests in pursuing claims

against OHA are adequately represented by Hospitals.

       MHAP may not intervene—either as a matter of right or permissively—for the purpose

of commandeering Hospitals’ lawsuit to create a new and different case than the one Hospitals

are entitled to bring and have heard. MHAP may pursue its public policy objectives elsewhere.

But MHAP may not take over Hospitals’ lawsuit and use it as a platform to advance its own

“[s]eparate and distinct” agenda. ECF 139 at 14.

                                            ARGUMENT

I.     MHAP Has No Right to Intervene Under Rule 24(a)(2).

       Rule 24 is “not intended to allow for the creation of whole new suits by intervenors.”

Wash Elec. Co-op, Inc. v. Mass. Mun. Wholesale Elec. Co., 922 F.2d 92, 97 (9th Cir. 1990).

Consequently, “intervention is unavailable where an applicant seeks to ‘inject new, unrelated

issues into the pending litigation,’ or to ‘expand the suit well beyond the scope of the current




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action.’” Apple Inc. v. Iancu, No. 5:20-CV-06128-EJD, 2021 WL 411157, at *4 (N.D. Cal. Feb.

5, 2021) (citing Akina v. Hawaii, 835 F.3d 1003, 1012 (9th Cir. 2016)) (internal punctuation

omitted). In other words, “an intervenor is admitted to the proceeding as it stands, and in respect

of the pending issues, but is not permitted to enlarge those issues or compel an alteration of the

nature of the proceeding.” Vinson v. Washington Gas Light Co., 321 U.S. 489, 498 (1944).

       Even then, an applicant for intervention as of right must satisfy four criteria under Rule

24(a)(2):

       (1) the applicant must timely move to intervene; (2) the applicant must have a
       significantly protectable interest relating to the property or transaction that is the
       subject of the action; (3) the applicant must be situated such that the disposition of
       the action may impair or impede the party's ability to protect that interest; and (4)
       the applicant's interest must not be adequately represented by existing parties.
Arakaki v. Cayetano, 324 F.3d 1078, 1083 (9th Cir. 2003) (citing Donnelly v. Glickman, 159

F.3d 405, 409 (9th Cir.1998)). Failure to satisfy any requirement is fatal to the application, and

the Court need not reach the remaining elements if one element is not satisfied. See California

ex rel. Van de Kamp v. Tahoe Reg'l Planning Agency, 792 F.2d 779, 781 (9th Cir.1986). The

proposed intervenor “bears the burden of showing that all the requirements for intervention have

been met.” U.S. v. Alisal Water Corp., 370 F.3d 915, 919 (9th Cir. 2004) (emphasis in original).

       Here, MHAP’s motion to intervene fails because it seeks to tack on a new and different

lawsuit onto the present one. Beyond that fundamental flaw, MHAP lacks Article III standing to

sue Hospitals and otherwise lacks a significant protectable interest. While MHAP may have

public advocacy that it wants to pursue, its interests will not be affected—let alone impeded or

impaired—by Hospitals’ claims. And to any extent this case may implicate MHAP’s discrete

interests against OHA, MHAP fails to show that those interests will not be adequately

represented by Hospitals or the Oregon Chapter of the National Alliance on Mental Illness

(“NAMI-Oregon”) (if granted intervenor status).




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        A.      MHAP lacks a significantly protectable interest in this lawsuit.

        As MHAP’s motion and proposed complaint reveal, MHAP wants to intervene so that it

can advance its separate cause of reducing the use of civil commitment and force non-profit

acute care hospitals to enter the long-term care space (which, as Hospitals have alleged in the

Second Amended Complaint, is inconsistent with providing emergency and acute care services

and could reduce the availability of critically needed emergency and acute care resources for

civil commitment patients in Oregon). In short, MHAP’s primary aim is to create a whole new

suit by using Hospitals’ fundamentally different case as a vehicle to do it. That is not the

purpose of intervention under Rule 24(a)(2). As explained below, MHAP cannot intervene as a

matter of right because it does not have a sufficiently protectable interest. MHAP lacks Article

III standing to assert claims against Hospitals for OHA’s failures, and the advocacy it otherwise

wishes to pursue is unrelated to this case.

                1. MHAP lacks standing to intervene to pursue different relief.

        While Article III standing is not needed to intervene to assert the same relief sought by a

plaintiff, it is needed to assert different relief. Town of Chester, N.Y. v. Laroe Estates, Inc., 581

U.S. 433, 439 (2017). For purposes of intervening, standing is “implicitly addressed” in the

significant interest requirement. Southwest Ctr. for Biological Diversity v. Berg, 268 F.3d 810,

821, n.3 (9th Cir. 2001); see also Perry v. Schwarzenegger, 630 F.3d 898, 904 (9th Cir. 2011)

(analyzing standing under the significant protectable interest prong).

        When a party seeks to intervene, whether as of right or permissively, and seeks to pursue

different relief from the original plaintiff, the intervening party must establish distinct Article III

standing to pursue its independent claim and relief. Town of Chester, 581 U.S. at 440 (holding

that “an intervenor of right must have Article III standing in order to pursue relief that is

different from that which is sought by a party with standing.”); In re Volkswagen ‘Clean Diesel’




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Mktg., Sales Pracs., & Prod. Liab. Litig., 894 F.3d 1030, 1044 (9th Cir. 2018) (finding no

intervention as of right where requested relief went beyond what the plaintiff requested and the

intervenor had not adequately alleged Article III standing). The Supreme Court has repeatedly

confirmed that “[s]tanding is not dispensed in gross,” Davis v. Fed. Election Comm’n, 554 U.S.

724, 734 (2008) (citation omitted), which means that “[f]or all relief sought, there must be a

litigant with standing[.]” Town of Chester, 581 U.S. at 439. By contrast, “intervenors that seek

the same relief sought by at least one existing party to the case need not do so.” Cal. Dep't of

Toxic Substances Control v. Jim Dobbas, Inc., 54 F.4th 1078, 1085 (9th Cir. 2022).

       Here, MHAP seeks additional and different relief against Hospitals for OHA’s failures.

MHAP seeks a court order declaring that Hospitals have violated patients’ Due Process rights in

violation of the Fourteenth Amendment and violated the Americans with Disabilities Act under

Olmstead. MHAP also seeks injunctions against Hospitals that seek to fundamentally transform

Hospitals’ emergency and acute care services into long-term treatment services, which would

deplete the highly needed and already overburdened emergency and acute care resources

currently available to civilly committed patients in Oregon. Because MHAP’s complaint pursues

new claims for relief against new parties, MHAP must establish independent Article III standing

for those new claims to intervene.

       MHAP cannot meet its burden to demonstrate independent Article III standing. The

proposed complaint fails to plead facts demonstrating either organizational or associational

standing. MHAP fails to establish organizational standing because it has not alleged frustration

of its organizational mission by Hospitals’ actions or diversion of its resources to combat those

frustrations. Smith v. Pac. Props. & Dev. Corp., 358 F.3d 1097, 1105 (9th Cir. 2004).

       MHAP has similarly failed to establish associational standing to bring claims against

Hospitals, which requires that one of its “members would otherwise have standing to sue in their




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own right, the interests at stake are germane to the organization’s purpose, and neither the claim

asserted nor the relief requested requires the participation of individual members in the lawsuit.”

Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 181 (2000).

MHAP fails the first prong, which requires it to “show that a member suffers an injury-in-fact

that is traceable to the defendant and likely to be redressed by a favorable decision.” Associated

Gen. Contractors of Am., San Diego Chapter, Inc. v. Cal. Dep’t of Transp., 713 F.3d 1187, 1194

(9th Cir. 2013).

          MHAP’s proposed complaint fails to do so because it does not allege that any MHAP

member is (or will likely be) civilly committed, let alone subject to civil commitment in

Hospitals’ facilities and likely to suffer injuries from Hospitals’ alleged conduct. MHAP alleges

only that “individuals like members of MHAP are sent to Hospital Corporation facilities.” ECF

139-1 at 5 (emphasis added). That is not sufficient. The issue for associational standing is

whether an MHAP member—not individuals like MHAP members—are “immediately in danger

of sustaining some direct injury” because of Hospitals’ alleged conduct or that “the injury or

threat of injury is both real and immediate, not conjectural or hypothetical.” Scott v. Pasadena

Unifed Sch. Dist., 306 F.3d 646, 656 (9th Cir. 2002) (quoting City of L.A. v. Lyons, 461 U.S. 95,

102 (1983)) (emphasis in original). MHAP alleges no such impending harm.1



1
  NAMI-Oregon, in contrast, pursues claims and relief that is coextensive with that of Hospitals,
such that NAMI-Oregon does not need to establish independent standing. See Town of Chester,
581 U.S. at 440. But even if NAMI-Oregon had to establish independent standing, it sufficiently
articulates that its own members are subject to civil commitment orders and impacted by OHA’s
conduct. Compare ECF 139-1 at 5 (“[I]ndividuals like members of MHAP are sent to Hospital
Corporation facilities.”) with ECF 121 at 3, 7 (“[NAMI’s membership] includes individuals who
are subject to civil commitment orders or may become subject to such orders in the future[.]”)
and ECF 142 at 8 (“NAMI-Oregon’s membership includes individuals who have been subject to
civil commitment orders, and family members of such individuals. Any individual who has been
subject to civil commitment order is impacted by OHA’s failure to provide appropriate care and
warehousing of patients in inappropriate facilities, as it limits NAMI-Oregon’s members’ ability
to get long-term care, and it limits the supply of hospital beds available for acute care needs.”).

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          Beyond that, MHAP’s allegations about individuals are simply statements that MHAP

recycled from Hospitals’ former First Amended Complaint, and merely recast to fit its own

narrative. Compare ECF 28 at ¶¶ 36–39, with MHAP’s complaint, ECF 139-1 at ¶¶ 19–22. But

none of the individuals identified in MHAP’s pleading are alleged to be members of MHAP.

MHAP lacks associational standing to assert their claims. See Pa. Psychiatric Soc'y v. Green

Spring Health Servs., Inc., 280 F.3d 278, 287 (3d Cir. 2002) (“Because the patients are not

members of, or otherwise directly associated with, the Pennsylvania Psychiatric Society, the

Society does not have associational standing to assert their claims.”).

          MHAP also alleges that members of its board include persons with mental illness and

attorneys who represent people with mental illness in civil commitment hearings.2 While these

allegations may support the premise that the MHAP board may relate to others suffering from

mental illness generally, this is insufficient to establish that MHAP members have been injured

by Hospitals.3


2
  Meredith Sasani, an attorney with DRO, is on MHAP’s Board of Directors. Additionally, Dave
Boyer, lead attorney for DRO, is part of MHAP’s Mental Health Alliance, which provides
advocacy in court cases. This is problematic because the Ninth Circuit previously ruled that
DRO had a conflict of interest that called “into serious question DRO’s ability fairly to represent
the civilly committed patients.” ECF 105 at 7.
3
  Finally, MHAP cannot establish third-party standing. Because Article III standing is a
“jurisdictional prerequisite to the consideration of any federal claim,” Gerlinger v. Amazon.com
Inc., 526 F.3d 1253, 1255 (9th Cir. 2008), MHAP cannot argue that it has third-party standing
here since it cannot satisfy Article III standing whether based on organizational or associational
standing. See Food & Drug Admin. v. All. for Hippocratic Med., 602 U.S. 367, 393 n.5 (2024)
(“[E]ven when we have allowed litigants to assert the interests of others, the litigants themselves
still must have suffered an injury in fact . . . .”) (quoting Hollingsworth v. Perry, 570 U.S. 693,
708 (2013)); compare ECF 142 at 9 (NAMI articulates injury to its mission) with ECF 139-1
(MHAP alleges no such injury). But even if MHAP could establish Article III standing for its
claims, it remains far from clear that MHAP would have a sufficiently “close relation” to
Hospitals’ patients to assert claims on their behalf. MHAP seeks injunctive relief that would
require Hospitals to provide long-term care to patients, which Hospitals explain is fundamentally
incompatible and mutually exclusive with emergency and acute care. See, e.g., SAC ¶¶ 6–12,
17–19. Thus, MHAP’s requested relief with respect to Hospitals could harm civilly committed
patients by causing a reduction of much-needed and already-limited emergency and acute care
resources available to civilly committed patients.

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        In short, MHAP lacks standing to assert claims against Hospitals. MHAP does not have

a significant protectable interest in pursuing claims against Hospitals in this case.

                2. MHAP fails to otherwise show a significant protectable interest.

        In addition to lacking standing to pursue claims against Hospitals, MHAP fails the second

requirement because it also lacks a significant protectable interest related to Hospitals’ claims.

        MHAP argues generally that it satisfies the second requirement because “public advocacy

relating to the particular issue addressed in the suit gives rise to a significant, protectable

interest.” ECF 139 at 7. That may be, but MHAP’s “advocacy” and the “cause” it seeks to

advance is “reducing the necessity of civil commitment, rather than expanding the practice.”

ECF 139 at 14; see id. at 5, 9. But that issue is not being litigated here, nor could MHAP’s cause

be materially advanced by participating in this case. This lawsuit is about OHA’s failure to

provide long-term, restorative treatment to individuals who are already civilly committed. It is

not about whether individuals should be civilly committed to begin with, or how to reduce or

expand civil commitment.

        While MHAP’s interest may be protectable under some law or theory, there is an

insufficient relationship between that interest and the claims at issue in this case. See Arakaki,

324 F.3d at 1084 (noting that there must be a relationship between the legally protected interest

and the claims at issue). MHAP’s generalized interest in reducing civil commitment is far

removed from the focus of this lawsuit and not adequate to constitute a significant protectable

interest to intervene. See Alisal Water Corp., 370 F.3d at 920 (mere generalized interest in the

prospective collectability of a debt was not a basis to allow a litigant’s creditor to intervene

where the putative intervenor’s interest was “several degrees removed” from the present matter).

        MHAP seeks to intervene in a lawsuit that does not exist, or at least is not this one. It is

perhaps understandable why the State would not oppose this re-purposing (and new focus) of the




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lawsuit the Hospitals bring, but this is not a proper use of intervention. Allowing MHAP to do

so would impermissibly “inject new, unrelated issues into the pending litigation” and “expand

the suit well beyond the scope of the current action.” Akina, 835 F.3d at 1012 (citing Arakaki,

324 F.3d at 1086). Hospitals’ Second Amended Complaint defines the scope of this lawsuit and

MHAP should not now be permitted to transform it into a different case. See Apple Inc., 2021

WL 411157, at *4 (proposed intervenors could not “by intervention radically alter” the scope of

the complaint “to create a much different case.”).

       In short, MHAP’s proposed suit “serves a different legal purpose” from Hospitals’

Second Amended Complaint and would have “an independent legal effect.” Greene v. United

States, 996 F.2d 973, 976 (9th Cir. 1993). It should remain separate.

       B.      MHAP invokes interests that would not be impaired or impeded by
               resolution of this case.
       The third requirement for intervention as of right considers whether “the disposition of

the action may, as a practical matter, impair or impede the applicant’s ability to protect its

interests.” Alisal Water Corp., 370 F.3d at 919. MHAP makes only two arguments in support of

this requirement, both of which fail.

       MHAP first contends that it needs to intervene because the “resolution of this case” will

“change the material landscape of MHAP’s work and advocacy.” ECF 139 at 9. But that is not

unique to MHAP and true for everyone in the behavioral health space in Oregon. MHAP must

show that its interests are impaired or impeded in a specific way. Merely having “an

undifferentiated, generalized interest in the outcome of an ongoing action is too porous a

foundation on which to premise intervention as of right.” Southern California Edison Co. v.

Lynch, 307 F.3d 794, 803 (2002) (quoting Public Serv. Co. of N.H. v. Patch, 136 F.3d 197, 205




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(1st Cir. 1998)); Alisal Water Corp., 370 F.3d at 920 (same). To hold otherwise would create an

open invitation for virtually anyone in the behavioral health space to intervene in this case.

       MHAP’s only other argument is that “[i]f the Parties fail to advance the cause of reducing

civil commitments and instead seek to increase the practice’s size and scope, then MHAP’s

cause will be set back by years if not decades.” ECF 139 at 9. That, too, is wrong. This lawsuit

is about OHA’s obligation to provide restorative, long-term treatment to individuals who are

already civilly committed, not whether the use of civil commitment should be reduced or

expanded. That is an entirely different issue, and MHAP’s belief that this lawsuit will somehow

impact its separate cause is highly speculative. See City of Emeryville v. Robinson, 621 F.3d

1251, 1259 (9th Cir. 2010) (an “intervenor cannot rely on an interest that is wholly remote or

speculative.”).

       Where, as here, “other means” exist to protect the intervenor’s interests, such as an

alternative forum, the intervenor’s interests are not impaired. Alisal, 370 F.3d at 921. Here, if

MHAP is interested in advancing its cause of reducing civil commitment, there are other avenues

available. If MHAP wants to litigate the unfairness or unconstitutionality of civil commitment

laws, MHAP can file a lawsuit to challenge the civil commitment statutes. See Akina, 835 F.3d

at 1012 (no intervention as of right where proposed intervenors “could adequately protect their

interests in separate litigation”); Miniace v. Pac. Mar. Ass'n, No. C 04-03506S1, 2005 WL

2230149, at *3 (N.D. Cal. Sept. 13, 2005) (same). And to whatever extent it may be convenient

for MHAP to intervene in an existing lawsuit rather than litigate separately, “[m]ere

inconvenience” caused by having “to litigate separately is not the sort of adverse practical effect

contemplated by Rule 24(a)(2).” Blake v. Pallan, 554 F.2d 947, 954 (9th Cir. 1977).

       In sum, MHAP has failed to demonstrate that its interests would be impaired or impeded

absent its participation as a party. This factor, too, warrants denial of MHAP’s motion.




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          C.     MHAP fails to establish inadequate representation.

          A putative intervenor must also show that the existing parties do not adequately represent

the intervenor’s interest. Fed. R. Civ. P. 24(a)(2). In determining adequacy of representation,

courts consider the following three factors: “(1) whether the interest of a present party is such

that it will undoubtedly make all of a proposed intervenor’s arguments; (2) whether the present

party is capable and willing to make such arguments; and (3) whether a proposed intervenor

would offer any necessary elements to the proceeding that other parties would neglect.” Arakaki,

324 F.3d at 1086. The most important factor is how the proposed intervenor’s interest compares

with the interests of existing parties. 7C Wright, Miller & Kane, Federal Practice and

Procedure § 1909, at 318 (2d ed.1986). Where parties share the same ultimate objective, a

“mere difference of opinion concerning the tactics with which the litigation should be handled”

does not render representation inadequate. Id.; see Arakaki, 324 F.3d at 1086.

          MHAP argues that Hospitals do not adequately represent its interests because Hospitals’

“interest is primarily pecuniary.” ECF 139 at 10. But this argument is premised on a cynical

mischaracterization of Hospitals’ motivations for bringing this lawsuit, which is not reflected in

the operative complaint.4 These arguments were also already raised and rejected by the Ninth

Circuit even before Hospitals amended their complaint. Hospitals, moreover, have since filed a

Second Amended Complaint, which continues to make clear that this lawsuit is for patients:

“Community hospitals bring this lawsuit to hold OHA accountable and ensure civilly committed

patients have access to the most appropriate long-term treatment options.” ECF 117 at 4.

          MHAP is likewise wrong that “if the Parties were to resolve this case tomorrow, patient

well-being would likely be a tertiary benefit at best.” ECF 139 at 10. Hospitals are genuinely

puzzled as to where MHAP gets this idea, as Hospitals allege the very opposite. Hospitals allege

4
 These are the same tired arguments raised by DRO, which as stated below were rejected.
MHAP, which has close ties to DRO, is simply trying to regurgitate the arguments of an
organization that, according to the Ninth Circuit’s decision, appears to be seriously conflicted.

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that they “are not seeking any relief that will result in fewer placement options for civilly

committed individuals, the creation of less-suitable placement options for [Hospitals’] patients,

or that will allow for the premature discharge of [Hospitals’] patients to inappropriate settings,”

which would “contravene [Hospitals’] missions to ensure high-quality, compassionate, and

patient-centric healthcare for patients.” ECF 117 at ¶ 62. Rather, the “only outcome [Hospitals]

will be satisfied with is one in which OHA creates more treatment options for [Hospitals’]

patients, in addition to those that already exist within [Hospitals] and elsewhere in Oregon. Id.

“Unless and until” that happens, Hospitals “will continue treating all civilly committed patients

in their care—as [Hospitals] have done for decades—in accordance with [Hospitals’] patient-

focused non-profit missions.” Id. For reasons Hospitals do not fully understand, MHAP denies

each of these allegations and cynically assumes Hospitals to have the worst intent possible

toward their own patients (who Hospitals have moral, ethical, and legal duties to protect).

       MHAP also argues that Judge Mosman found that Hospitals lacked third-party standing

because they purportedly “complain about how much civilly committed patients are costing them

and about the harms [the patients] inflict on their staff members.” ECF 139 at 10. But MHAP

omits that the Ninth Circuit rejected Judge Mosman (and OHA’s) reasoning on this point,

holding it was error to dismiss Hospitals’ third-party claims on that basis. ECF 105 at 7-9

(vacating Judge Mosman’s ruling on third-party standing). The Ninth Circuit also noted that

“some tension in [Hospitals’] complaint between the needs of civilly committed patients and

[Hospitals] is not necessarily enough to show that [Hospitals] lack[] a ‘close relation’ to the

patients.” Id. at 8. Hospitals have since filed a Second Amended Complaint, which more than

adequately alleges that Hospitals have third-party standing to bring claims on behalf of civilly

committed patients. See ECF 140.




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       Seemingly without regard to the Ninth Circuit’s opinion and the allegations in the Second

Amended Complaint, MHAP urges this Court to find that there is inadequate representation by

Hospitals. But MHAP has not overcome the presumption that Hospitals will adequately

represent its interests. Based on the record before this Court, Hospitals have demonstrated they

are willing and capable to make the same arguments MHAP seeks to assert against OHA.

Indeed, the only claims MHAP asserts against OHA have already been brought by Hospitals.

MHAP cannot pursue Due Process and Olmstead claims against Hospitals (which are based on

OHA’s failures) because MHAP lacks standing to do so.

       In any event, even if this Court concludes that Hospitals may not adequately represent

MHAP’s interests (which Hospitals deny), NAMI-Oregon will adequately protect MHAP’s

interests if permitted to intervene, along with patients around the entire State. Notably, unlike

MHAP, which (as demonstrated by its name) is focused on Portland, NAMI-Oregon is a state-

wide organization. It has 2,000 members and, through its programs, serves more than 15,000

Oregonians throughout Oregon. See ECF 142 at 3. NAMI-Oregon’s members include

individuals who suffer from severe mental illness, who have been subject to civil commitment

orders, and will continue to be subject to such orders in the future. See ECF 121, 122, 142.

Thus, to the extent the Court concludes that Hospitals may not adequately represent MHAP’s

interests, NAMI-Oregon is well-positioned to do so by ensuring the voices of all patients around

the entire State are represented on the issues before the Court.

II.    The Court Should Deny Permissive Intervention Under Rule 24(b).

       The Court should also deny MHAP’s motion for permissive intervention under Rule

24(b). Permissive intervention is discretionary. Even if an applicant satisfies the threshold

requirements, the district court has discretion to deny permissive intervention. See Orange v. Air

Cal., 799 F.2d 535, 539 (9th Cir. 1986) (“Permissive intervention is committed to the broad




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discretion of the district court.”). In exercising its discretion, “the district court must consider

whether intervention will unduly delay the main action or will unfairly prejudice the existing

parties.” Donnely, 159 F.3d at 412; see Fed. R. Civ. P. 24(b)(3). Indeed, “the possibility of

prejudice to the original parties is in fact the ‘principal consideration’ when deciding a motion to

intervene.” UMG Recordings, Inc. v. Bertelsmann AG, 222 F.R.D. 408, 415 (N.D. Cal. 2004)

(quoting 7C Wright & Miller, Federal Practice and Procedure § 1913 (2d ed. 2003)).

       Here, admitting MHAP would unduly delay and prejudice the adjudication of this case.

Including MHAP runs the risk of transforming this case from assessing the obligations of the

state after a person is civilly committed to assessing whether less people should be civilly

committed altogether. Even if MHAP’s suit would involve some of “the same questions of law

and fact raised by [Hospitals’] claims,” litigation of MHAP’s claims would nonetheless

“necessitate the consideration of extraneous legal and factual issues that [Hospitals’] lawsuit

would not otherwise invoke.” See UMG Recordings, Inc., 222 F.R.D. at 414. MHAP’s request

for permissive intervention should therefore be denied because its claims will “divert time and

resources from the principal thrust of [Hospitals’] lawsuit and entangle the legal and factual

issues involved therein within a web that is not of the original parties’ making.” Id. at 415.

Intervention is not intended to be used as means to create whole new lawsuits by intervenors, and

“[p]ermissive intervention may be denied if the addition of the proposed intervenor would inject

new issues into a dispute,” which would happen here. In re Grupo Unidos por el Canal, S.A.,

No. 14–mc–80277–JST (DMR), 2015 WL 1815251, at *5 (N.D. Cal. Apr. 21, 2015); Smith v.

Marsh, 194 F.3d 1045, 1051 (9th Cir. 1999) (denying permissive intervention where intervenors

sought to “inject new issues and matters that are well beyond the scope of [plaintiffs’] claims and

[defendants’] defenses”).




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       Moreover, as discussed above, this Court should not permit permissive intervention

because MHAP has not established Article III standing, which is required for it to assert claims

against Hospitals. As for MHAP’s remaining claims against OHA, Hospitals (and NAMI-

Oregon if granted intervenor status) will be able to adequately represent MHAP in this litigation

as the parties’ ultimate objective is the same. See Perry v. Proposition 8 Official Proponents,

587 F.3d 947, 955 (9th Cir. 2009) (affirming denial of permissive intervention where proposed

intervenors’ interests were adequately represented by existing parties). And, if MHAP wishes to

change the use of civil commitment, it can always pursue relief through alternative means, such

as through a separate lawsuit challenging the civil commitment statutes.

       Simply put, MHAP has not met its burden of showing that it belongs in this case.

Admitting MHAP permissively would be procedurally improper, impose undue delay and

prejudice on the parties, and impede the focus of the legal issues in this case. Instead, the more

appropriate course would be to permit MHAP to participate as amici curiae, to the extent MHAP

can satisfy the criteria for amicus status. That approach would allow the Court to consider

MHAP’s views while minimizing any further disruptions to the proceedings in this case.

                                          CONCLUSION

       For all the reasons discussed above, the Court should deny MHAP’s motion to intervene.




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